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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 Robert P. Goe – State Bar No.137019
 Charity J. Manee – State Bar No. 286481
 GOE FORSYTHE & HODGES LLP
 18101 Von Karman Ave., St. 1200
 Irvine, CA 92612
 rgoe@goeforlaw.com
 cmanee@goeforlaw.com
 Telephone: (949) 467-3780
 Facsimile: (949) 955-9437




      Individual appearing without attorney
      Attorney for: Debtors

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                        DIVISION

 In re:                                                                       CASE NO.: 8:19-bk-14714-CB
 In re:                                                                       CHAPTER: 11

 _x_ MEADE INSTRUMENTS CORP., a Delaware                                      APPLICATION FOR PAYMENT OF:
 corporation
                                                                                   INTERIM FEES AND/OR EXPENSES
 __ SUNNY OPTICS, INC., a Delaware corporation
                                                                                   (11 U.S.C. § 331)
                                                                                   FINAL FEES AND/OR EXPENSES
  __ All Debtors.                                                                  (11 U.S.C. § 330)

 Debtors and Debtors-in-Possession.                                           DATE: 04/29/2020
                                                                              TIME: 10:00 am
                                                                              COURTROOM: 5D
                                                                              PLACE: 411 West Fourth Street
                                                                                       Santa Ana, CA 92701
                                                              Debtor(s).

1. Name of Applicant (specify): Stetina Brunda Garred & Brucker, APC

2. Type of services rendered: Special Intellectual Property Counsel
   a.      Attorney for (specify): Meade Instruments Corporation
   b.      Accountant for (specify):
   c.      Other professional (specify):

3. Date of filing of petition under chapter 11               of the Bankruptcy Code: 12/04/2019

4. Date of entry of Order Approving Applicant's Employment: 04/01/2020

5. Date of filing of last Fee and/or Expense Application:


            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                      F 2016-1.2.APP.PAYMENT.FEES
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6. Total fees allowed or paid to Applicant to date (including retainers and prior
   approved fee applications): $

       a. Retainer received: $ 10,000.00

       b. Retainer remaining as of the date of this Application: $ 10,000.00

       c.   Total amount requested in all prior applications: $

       d. Total amount actually paid pursuant to prior approved applications: $

       e. Total amount currently due but unpaid pursuant to prior approved applications: $

       f.   Total amount allowed but reserved pending final fee application: $

7. Summary of Requested Fees: (attach detailed supporting documentation to this Application)

                                                                                              Total Hours
               Professional Person’s Name                             Hourly Rate         X                       =         Total Fees this Person
                                                                                              this Person
  a. Gregory K. Clarkson                                            $ 300.00              X 14.7                  =    $ 4,410.00
  b.                                                                $                     X                       =    $
  c.                                                                $                     X                       =    $
  d.                                                                $                     X                       =    $
  e.                                                                $                     X                       =    $
  f.                                                                $                     X                       =    $
  g.         Continued on attached page

8. The hourly rates above are the same rates charged by the above professionals for non-bankruptcy services except as
   follows:                                                                            See attached page




9. Bonus requested (final fee applications only): $
   (attach Declaration and Memorandum of Points and Authorities justifying bonus)

10. TOTAL FEES REQUESTED THIS APPLICATION: $ 4,410.00

11. Total expenses paid to Applicant to date (including retainers and prior
    approved expense applications): $ 10,000.00




              This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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12. Summary of Requested Expense Reimbursement: (attach detailed supporting documentation to this Application)

                                                                                                                       Reimbursement Requested
                                               Type of Expense
                                                                                                                             this Application
  a. 775.00                                                                                                            $ 775.00
  b.                                                                                                                   $
  c.                                                                                                                   $
  d.                                                                                                                   $
  e.                                                                                                                   $
  f.                                                                                                                   $
  g.       Continued on Attached Page


13. TOTAL EXPENSE REIMBURSEMENT REQUESTED THIS APPLICATION: $ 775.00

14. Applicant submits the following in support of the Application herein pursuant to LBR 2016-1 (specify):
     Narrative description of services performed attached a "Exhibit "1". Firm's billing statements through March 31, 2020
       attached as Exhibit "2". Firm resume setting forth qualifications of personnel attached as Exhibit "3".


       Applicant has reviewed the requirements of Local Bankruptcy Rule 2016-1 and this application complies with them.
15. Total number of attached pages of supporting documentation:

16. Applicant declares under penalty of perjury under the laws of the United States that the foregoing Application and all
    attached supporting documentation are true and correct and accurately reflect services rendered and expenses
    incurred.


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 4/6/20              Gregory K. Clarkson
 Date                Printed Name                                                        Signature




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                           Page 3                        F 2016-1.2.APP.PAYMENT.FEES
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                   EXHIBIT 1




                   EXHIBIT 1
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1. On February 4, 2020, Debtor’s Counsel requested that I review the pending trademark and
   patent dockets forwarded to him by former IP counsel at Arent Fox and Knobbe Martens, and
   to provide an estimate of the fees our firm would incur through the end of April in relation to
   Meade’s currently upcoming deadlines before the U.S. Patent and Trademark Office
   (“USPTO”) and the corresponding intellectual property offices in other nations. I provided
   Debtor’s Counsel with my estimate.

2. On February 13, 2020, I was instructed by Debtor’s Counsel to proceed to prepare responses
   to three trademark matters before the USPTO with upcoming deadlines at the end of
   February, and to prepare letters to former IP counsel at Arent Fox and Knobbe Martens
   informing them of the debtor’s change in representation and requesting them to transfer
   client files.

3. On February 20, 2020, I received an email from Debtor’s Counsel requesting that I review
   the records of the USPTO to check the registered ownership of the MEADE trademark, and
   report my findings, which I did.

4. On February 24, 2020, I held a conversation with former trademark counsel at Arent Fox
   regarding my letter of February 13 regarding the upcoming trademark deadlines for the
   debtor and what would be required for her firm in carrying out the requested transfer of client
   files. I additionally sent an email to the client requesting information and signatures for the
   documents our firm was preparing for responding to the upcoming trademark deadlines.

5. On February 25, 2020, I followed up the client regarding particular questions regarding the
   email from the day before, and I additionally gathered and reviewed a number of
   photographs and website screenshots of the debtor’s products to find acceptable specimens
   for filing with the USPTO to establish debtor’s use in commerce of a number of trademarks.

6. On February 26, 2020, I followed up again with the client regarding instructions as to
   whether to proceed with certain matters and the gathering of signatures on documents
   required for registering our firm’s representation of the debtor before the USPTO.

7. On February 27, I followed up with the client regarding receipt of documentation for filing
   trademark responses in three matters before the USPTO, and I coordinated the filing of
   statements of use in three pending trademark matters.

8. On March 4, 2020, I reviewed the Court’s Notice to File Applications for Compensation and
   followed-up with Debtor’s Counsel regarding what would be required of our firm to comply
   with the Court’s notice.

9. On March 17, 2020, I followed up with debtor’s former patent counsel at Knobbe Martens
   regarding the letter I had sent February 13, 2020, as I had not received any response.




                                  EXHIBIT 1 - NARRATIVE
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10. On March 18, 2020, I received an Office Action from the Trademark Office for a corrective
    filing in order to clarify a minor issue in relation to one of the trademark filings made on
    February 27, 2020, and I prepared and filed a suitable response.

11. On March 20, 2020, I was asked by debtor’s counsel to review a security interest in the
    debtor’s trademarks purportedly in favor of Ningbo Sunny, and to analyze the propriety of
    the security interest. I conducted research on the issue and reported my findings to debtor’s
    counsel.

12. On March 23, debtor’s counsel requested a telephonic conference regarding the security
    interest, and had further questions. I performed more research on relevant caselaw in order to
    confirm and further elaborate on other issues in relation to the requirements for perfecting
    security interests in trademarks. I then held a telephonic conference of approximately 30
    minutes with debtor’s counsel regarding those findings.

13. On March 30, 2020, I coordinating the filing of responses with the USPTO in two trademark
    matters with upcoming deadlines. As our firm was now registered to represent debtor before
    the USPTO at this time, filing of these responses was much simplified.




                                   EXHIBIT 1 - NARRATIVE
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                   EXHIBIT 2




                   EXHIBIT 2
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                                   Main Document
                                Stetina Brunda Garred & Brucker
                                             A PROFES S IONAL CORPORATION

                             PATENT, TRADEMARK, COPYRIGHT AND UNFAIR COMPETITION CAUS ES

                                           75 ENTERPRIS E, S UITE 250
                                             ALIS O VIEJ O, CA 92656

                             TELEPHONE 949-855-1246          FACS IMILE 949-855-6371

                                 Please indicate your Invoice Number or
                                your Client ID with your check remittance.

                                                                                   BILLING STATEMENT
MEADE INSTRUMENTS CORP.                                                             through February 29, 2020
EMAIL ONLY // EMAIL ONLY                                                                   Inv. No.:   175301
27 HUBBLE STREET, SUITE 100
IRVINE, CA 92618                                                                               MEADE      GKC
ROB GOE/VICTOR ANICETO
PROFESSIONAL SERVICES:
DATE      DESCRIPTION                                                       ATTY       HRS         RATE           AMT
MEADE000                 GENERAL FILE

2/04/20   Preparation of Rough Estimate of Fee Breakdown for                 GKC           0.70 $300.00         $210.00
          Next 3-4 Months and Email to Client/Rob Goe re:
          Analysis
2/13/20   Various Emails with Client and Rob Goe; Preparation                GKC           1.30 $300.00         $390.00
          and Transmittal of File Transfer Instruction Letters to
          old Meade IP Counsel
2/18/20   Email to Client requesting instructions for proceeding             GKC           1.00 $300.00         $300.00
          on upcoming 2/27 deadlines for filing statements of
          use in relation to CANYONVIEW, MASTERCLASS,
          RANGEVIEW marks; Coordination of Paralegals for
          Opening Case Files on upcoming Meade Trademark
          Matters
2/20/20   Email to Charity Miller re: recorded ownership of                  GKC           0.40 $300.00         $120.00
          MEADE trademark

2/24/20   Communication with Arent Fox Counsel re:                           GKC           0.20 $300.00          $60.00
          Instructions for File Transfer

2/24/20   Review of USPTO records for all registered trademark               GKC           1.70 $300.00         $510.00
          assets reflecting Meade, Coronado, and Ningbo
          Sunny as registered owner; Analysis of Potential
          Chain of Title Issues
2/24/20   Follow-up with Client re: Instructions for responding              GKC           0.10 $300.00          $30.00
          to Statement of Use Deadline

2/25/20   Further Email Follow-up with Client re: Statements of              GKC           0.50 $300.00         $150.00
          Use; Gathering of Suitable Specimens

2/26/20   Follow-up Email to Client re: Statement of Use                     GKC           0.10 $300.00          $30.00
          Declarations



                                EXHIBIT 2 - BILLING STATEMENTS
Stetina Brunda Garred & Brucker             Billing Statement   MEADE   Through 2/29/20                  Page 2
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        DATE          DESCRIPTION Main Document      ATTY
                                                    Page 9 of 22  HRS RATE                                        AMT
         2/27/20Further Emails to Client re: various Power of Attorney     GKC            0.60 $300.00        $180.00
                Documents for Filing of Statements of Use and
                Confirmation of Filings; Coordination of Filing of
                Statements of Use
         MEADE001T            CANYONVIEW

         2/27/20       Preparation and filing of Statement of Use (1       GKC                                $250.00
                       International Class-FF)
         MEADE002T                    MASTERCLASS

         2/27/20       Preparation and filing of Statement of Use (1       GKC                                $250.00
                       International Class-FF)
         MEADE003T                   RANGEVIEW

         2/27/20       Preparation and filing of Statement of Use (1       GKC                                $250.00
                       International Class-FF)

         TOTAL FOR PROFESSIONAL SERVICES:                                                                   $2,730.00


         DISBURSEMENTS:

         Statement of Use Fee MEADE001T                                                                       $100.00
         Statement of Use Fee MEADE002T                                                                       $100.00
         Statement of Use Fee MEADE003T                                                                       $100.00

         TOTAL FOR DISBURSEMENTS:                                                                             $300.00



         BALANCE FOR THIS STATEMENT:                                                                        $3,030.00

         PREVIOUS BALANCE:                                                                                        $0.00
         PAYMENT RECEIVED OR CREDIT BALANCE FORWARDED:                                            (               $0.00 )

                                                      TOTAL AMOUNT DUE:                                    $3,030.00
                                                      RETAINER BALANCE:                           (               $0.00 )




                                               EXHIBIT 2 - BILLING STATEMENTS
Stetina Brunda Garred & Brucker               Billing Statement     MEADE         Through 2/29/20                       Page 3
            Case 8:19-bk-14714-MW Doc 180 Filed 04/07/20 Entered 04/07/20 10:06:26                                               Desc
        DATE          DESCRIPTION Main Document      ATTY
                                                   Page 10 of 22 HRS RATE                                                        AMT
         KMS = Kit M. Stetina                  SSS = Shunsuke S. Sumitani               PAR = Paralegal
         WJB = William J. Brucker              MJZ = Michael J. Zingale                 FF = Flat Fee Charge
         MBG = Mark B. Garred                  GKC = Gregory K. Clarkson                Other initials represent law clerks.
         MAN = Matthew A. Newboles             SMH = Stephen M. Hamon
         LA = Lowell Anderson
         ELT = Eric L. Tanezaki

         *****************************************************************************************************************************************
         Please indicate your Invoice Number and your Client ID with your remittance.
         Payments made by credit card are subject to a 3 % convenience fee.
         The 3 % fee and your payment to us will appear as one charge on your credit card statement.
         Please note that we do not accept payments by debit cards.
         For your protection, we request that you do not fax or email your credit card information.
         Please include the following with your remittance for credit card payments.

         Credit Card Information: Credit Card No.: _________________________________________

         Exp. Date: ________ / 20______    Amount: $____________________________________

         Alternatively, you can call our office to provide your credit card information at (949) 855-1246.
         ***********************************************************************************************************************




                                                 EXHIBIT 2 - BILLING STATEMENTS
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                                Stetina Brunda Garred & Brucker
                                             A PROFES S IONAL CORPORATION

                             PATENT, TRADEMARK, COPYRIGHT AND UNFAIR COMPETITION CAUS ES

                                           75 ENTERPRIS E, S UITE 250
                                             ALIS O VIEJ O, CA 92656

                             TELEPHONE 949-855-1246          FACS IMILE 949-855-6371

                                 Please indicate your Invoice Number or
                                your Client ID with your check remittance.

                                                                                   BILLING STATEMENT
MEADE INSTRUMENTS CORP.                                                             through March 31, 2020
EMAIL ONLY // EMAIL ONLY                                                                   Inv. No.:   176130
27 HUBBLE STREET, SUITE 100
IRVINE, CA 92618                                                                               MEADE      GKC
ROB GOE/VICTOR ANICETO
PROFESSIONAL SERVICES:
DATE        DESCRIPTION                                                     ATTY       HRS         RATE             AMT
MEADE000                 GENERAL FILE

3/04/20    Review of Notice to File Applications for                         GKC           0.30 $300.00           $90.00
           Compensation and Follow-up with Rob Goe re:
           Obligations
3/17/20    Follow-up with Knobbe Martens re: File Transfer                   GKC           0.20 $300.00           $60.00
           Status

3/20/20    Analysis of Security Interest Recorded with USPTO                 GKC           1.00 $300.00          $300.00
           and Research re: Question of Voidability due to
           Possible Incomplete Inclusion of Goodwill
3/23/20 Further Familiarization with caselaw re: Perfection of               GKC           1.70 $300.00          $510.00
        Security Interests in Trademarks; Follow-up
        Teleconference with Rob Goe re: Status of Case and
        Security Interest
MEADE002T              MASTERCLASS

3/18/20    Review of Trademark Office Action and Coordination                GKC           0.90 $300.00          $270.00
           of Filing of Corrective Response
MEADE004T                STARPRO AZ

3/30/20    Preparation and filing of Statement of Use (1                     GKC                                 $250.00
           International Class-FF)
MEADE005T                ADVANCED COMA-FREE

3/30/20    Preparation and filing of Response to Trademark                   GKC                                 $200.00
           Office Action re substitute specimen

TOTAL FOR PROFESSIONAL SERVICES:                                                                                $1,680.00


DISBURSEMENTS:

Stmt of Use/Ext of Time/Petition Fee MEADE002T                                                                   $275.00
                                EXHIBIT 2 - BILLING STATEMENTS
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                                                   Page 12 of 22 HRS RATE                                                          AMT
         Section 8 Fee MEADE005T                                                                                                $100.00
         Statement of Use Fee MEADE004T                                                                                         $100.00
         TOTAL FOR DISBURSEMENTS:                                                                                               $475.00



         BALANCE FOR THIS STATEMENT:                                                                                           $2,155.00

         PREVIOUS BALANCE:                                                                                                     $3,030.00
         PAYMENT RECEIVED OR CREDIT BALANCE FORWARDED:                                                           (                $0.00 )

                                                        TOTAL AMOUNT DUE:                                                      $5,185.00
                                                        RETAINER BALANCE:                                        (                $0.00 )

         KMS = Kit M. Stetina                  SSS = Shunsuke S. Sumitani               PAR = Paralegal
         WJB = William J. Brucker              MJZ = Michael J. Zingale                 FF = Flat Fee Charge
         MBG = Mark B. Garred                  GKC = Gregory K. Clarkson                Other initials represent law clerks.
         MAN = Matthew A. Newboles             SMH = Stephen M. Hamon
         LA = Lowell Anderson
         ELT = Eric L. Tanezaki

         *****************************************************************************************************************************************
         Please indicate your Invoice Number and your Client ID with your remittance.
         Payments made by credit card are subject to a 3 % convenience fee.
         The 3 % fee and your payment to us will appear as one charge on your credit card statement.
         Please note that we do not accept payments by debit cards.
         For your protection, we request that you do not fax or email your credit card information.
         Please include the following with your remittance for credit card payments.

         Credit Card Information: Credit Card No.: _________________________________________

         Exp. Date: ________ / 20______    Amount: $____________________________________

         Alternatively, you can call our office to provide your credit card information at (949) 855-1246.
         ***********************************************************************************************************************




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                             P ATE N T , T R AD E M AR K , C OP Y RI G H T AN D U N F AI R C O MP E TI TI ON C AU S E S

                                                       75 ENTERPRIS E, S UI TE 250
                                                  ALI SO VIEJO, CALI FORNI A 92656



KIT M. STETINA
BRUCE B. BRUNDA (ret.)
WILLIAM J. BRUCKER
MARK B. GARRED
MATTHEW A. NEWBOLES
ERIC L. TANEZAKI                                                                                                          TELEPHONE           (949) 855-1246
LOWELL ANDERSON                                                                                                           FACSIMILE I         (949) 855-6371
SHUNSUKE S. SUMITANI                                                                                                      FACSIMILE II        (949) 716-8197
                                                                                                                                         www.stetinalaw.com
MICHAEL J. ZINGALE
--------------
GREGORY K. CLARKSON
STEPHEN M. HAMON




                                                             FIRM RESUME

                          STETINA BRUNDA GARRED & BRUCKER specializes in:
                        Intellectual Property Law including Patent, Trademark, Copyright,
              Unfair Competition, Trade Secret, Licensing, Computer Law and Related Anti-Trust Law

                                                             FIRM PROFILE

                 STETINA BRUNDA GARRED & BRUCKER was founded in 1980 and serves the
         intellectual property needs of the Greater Southern California area through its strategically
         located office in South Orange County. The firm concentrates on both domestic and foreign
         intellectual property prosecution, litigation and licensing. The firm encourages its personnel to
         engage in continuing professional development through continuing legal education and
         professional association activities.

               STETINA BRUNDA GARRED & BRUCKER is a member of the Bar Register of
         Preeminent Lawyers and is AV rated by Martindale-Hubbell Law Directory.




                                                  EXHIBIT 3 - FIRM RESUME
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                                     PRINCIPALS OF THE FIRM

             KIT M. STETINA, born in Compton, California, 1952; admitted to Bar, California
     (1978); U.S. District Courts for the Central District of California (1978), Northern District of
     California (1990), and Southern District of California (1983), U.S. Court of Appeals, Federal
     Circuit (1989); U.S. Claims Court; registered to practice before U.S. Patent and Trademark
     Office (1979).

                     Education: Arizona State University (B.S. Mechanical Engineering, 1974);
              Pepperdine University (J.D., Cum Laude, 1978); Phi Alpha Delta Staff Member 1976-
              1977 and Editor 1977-1978, Pepperdine University Law Review.

                    Member: Orange County Bar Association; State Bar of California; Orange
              County Patent Law Association; Los Angeles Patent Law Association.

            BRUCE B. BRUNDA, born in Staten Island, New York, 1951; admitted to Bar, New
     York (1978), California (1983); U.S. District Courts for the Southern and Eastern Districts of
     New York (1979); U.S. Court of Appeals for the Federal Circuit (1982) and Ninth Circuit
     (1983); U.S. District Courts for the Northern District of California (1983), Central District of
     California (1983) and Southern District of California (1983); U.S. Court of Customs and Patent
     Appeals (1981); and U.S. Claims Court (1983); registered to practice before U.S. Patent and
     Trademark Office (1978); Appointed Special Master, United States District Court, District of
     Arizona (1998); Appointed Special Master, United States District Court, Eastern District of
     Texas, Marshall Division (1998) (1999).

                     Education: New Jersey Institute of Technology (B.S.E.E. 1972); Franklin Pierce
              Law Center (J.D. 1977); Author: "Patent Preliminary Injunction," 65 Journal Patent
              Office Society 632 (1983); "Resolution of Patent Disputes by Non-Litigation
              Procedures", 15 AIPLA Quarterly Journal 73 (1987); “The Effect of Utility Patents on
              Trade Dress Infringement”, Orange County Lawyer, May 2000; Update Author: “Trade
              Secrets Practice in California,” CEB, California (1999) (2000). Judicial Law Clerk to
              Chief Judge Howard T. Markey, U.S. Court of Appeals for the Federal Circuit, 1980-
              1982, Director/President: Orange County Patent Law Association; Councilman, National
              Council of Patent Law Association; Delegate U.S. Bar/JPO Liaison Council 1990;
              Director Orange County Barristers Association, 1984-1986.

                      Member: Orange County Bar Association; American Bar Association; State Bar
              of California; Orange County Patent Law Association; American Intellectual Property
              Law Association; Los Angeles Patent Law Association; CEB-State Bar Business &
              Intellectual Property Law Advisory Committee. U.S. Army Special Forces 1972-1974.

            MARK B. GARRED, born in Euclid, Ohio, 1964; admitted to Bar, Ohio (1990),
     California (1990); U.S. District Court, Northern District of Ohio (1990); U.S. District Court,
     Northern District of California (1990), Central District of California (1991) and Southern District
     of California (1991); U.S. Court of Appeals for the Federal Circuit (1995) and U.S. Court of
     Appeals for the Ninth Circuit (1995); registered to practice before the United States Patent and
     Trademark Office (1991).


                                      EXHIBIT 3 - FIRM RESUME
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                     Education: Gannon University (B.M.E. [Mechanical Engineering] 1986);
              Cleveland-Marshall College of Law, Cleveland State University (J.D. 1989); [Design
              Engineer 1986-1987].

                     Member: Orange County Patent Law Association; State Bar of California.

             WILLIAM J. BRUCKER, born in Pittsburgh, Pennsylvania, 1964; admitted to Bar,
     Ohio (1990), California (1991); U.S. District Courts for the Central District of California (1991),
     Southern District of California (1991), Northern District of California (1990), Eastern District of
     California (1999); U.S. Courts of Appeals for the Federal Circuit (1995) and Ninth Circuit
     (1995); U.S. District Courts for the Northern District of Ohio (1990), Eastern District of
     Wisconsin (1997), Western District of Michigan (2001) and District of Colorado (2002);
     registered to practice before the United States Patent and Trademark Office (1992).

                      Education: Gannon University (B.E.E. [Electrical Engineering] 1986); Case
              Western Reserve University (J.D. 1990); engineering emphasis; digital electronics,
              logical design, microprocessors and computer architecture.

                    Member: Orange County Patent Law Association; American Intellectual Property
              Law Association; State Bar of California.

             MATTHEW A. NEWBOLES, born in Bakersfield, California, 1965; admitted to Bar,
     California (1993); U.S. District Courts for the Central District of California (1994), Northern
     District of California (1995), and Southern District of California (1996); U.S. Court of Appeals,
     Federal Circuit (2008) and Ninth Circuit (1995); registered to practice before the United States
     Patent and Trademark Office (1992).

                     Education: California Polytechnic State University, San Luis Obispo (B.S.,
              Biochemistry, Cum Laude, 1988); Santa Clara University (J.D., 1993); Research Editor,
              Santa Clara Computer and High Technology Law Journal (1992-1993).

                     Member: State Bar of California; Orange County Patent Law Association.

             ERIC L. TANEZAKI, born in Long Beach, California, 1967; admitted to Bar,
     California (1996); admitted to the U.S. District Court Central District of California (1997);
     Northern District of California (2001), and Southern District of California (1997); registered to
     practice before U.S. Patent and Trademark Office (1996).

                     Education: University of Southern California (B.S. Mech. Eng., 1989);
              University of the Pacific, McGeorge School of Law (J.D., 1996); Engineer, McDonnell
              Douglas Electronic Systems Co., 1989-1993.

                      Member: California Bar Association; Orange County Bar Association; Los
              Angeles County Bar Association; Orange County Patent Law Association; Intellectual
              Property Law Mentor for USC Stevens Institute for Innovation; and Executive Director
              for the Southern California Venture Network (SCVN.org).


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             LOWELL ANDERSON, born in Nebraska in 1950; admitted to practice before the
     California Supreme Court, U.S. District Court, Central District of California (1983), Northern
     District of California (1987), Southern District of California (1984), Federal District Courts in
     Missouri, Washington and New York, the Ninth Circuit Court of Appeals (1983), and the Court
     of Appeals for the Federal Circuit (1994).

                     Education: Bachelor's Degree in Mechanical Engineering in 1972 from the
              University of Nebraska--Lincoln, admitted to the Pi Tau Sigma and Sigma Tau
              engineering honorary societies; Master's Degree in Mechanical Engineering in 1977 from
              the University of Michigan, Ann Arbor, taught under Professor Joseph Shigley; Juris
              Doctorate 1982 from the University of California, Hastings College of Law in San
              Francisco; was a semi-finalist in the 1981 Giles Sutherland Rich Moot Court
              Competition, and served as a managing editor of the Hastings Constitutional Law
              Quarterly.

                     Worked as an engineer in the Research & Development Department of the
              Eastman Kodak Company in Rochester, New York for three years, and for four years
              worked in El Segundo, California at the Aerospace Corporation, which was the
              consultant to the Air Force Space Division.

                      Member: State Bar of California; Orange County Patent Law Association (Past-
              President of the Orange County Patent Law Association); Editor of New Matter, a
              quarterly publication of the Intellectual Property Section of the State Bar of California,
              and was Chair of that Section from 1992-1993. Has authored a number of articles on
              various intellectual property topics for New Matter, for the OCPLA Newsletter, and for
              the European Intellectual Property Law Reporter. Wrote several chapters in the CEB
              Book on Trade Secrets in California.

             SHUNSUKE (SAM) SUMITANI, born in Tokushima City, Japan, 1979; admitted to
     Bar, California (2005); U.S. District Court for the Central District of California (2006);
     registered to practice before the U.S. Patent and Trademark Office (2005).

                      Education: Purdue University, West Lafayette, Indiana (B.S. Electrical
              Engineering Technology, 2002); Franklin Pierce Law Center, Concord, NH (J.D., 2005);
              Public Interest Coalition Lexis-Nexis Fellow, 2003.

                     Member: State Bar of California, Orange County Bar Association, Orange County
              Patent Law Association.

                     Languages: Japanese (conversational).




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             MICHAEL J. ZINGALE, born in East Amherst, New York, 1980; admitted to Bar,
     California (2006); Central District of California (2006); registered to practice before the United
     States Patent and Trademark Office (2006).

                     Education: University of Notre Dame (B.S., Mechanical Engineering, 2002);
              Whittier Law School (J.D. 2006); Whittier Law Review; Certificate in Intellectual
              Property.

                     Member: State Bar of California, Orange County Patent Law Association.


                                              ASSOCIATES

             GREGORY K. CLARKSON, born in Newport Beach, California, 1989; admitted to
     Bar, California (2014); Central District of California (2014); Federal Circuit (2014); Registered
     to practice before the United States Patent and Trademark Office (2014).

                     Education: University of California, Irvine (B.S. Biology 2010; B.S., Chemistry,
              2011); University of California, Irvine School of Law (J.D. 2014).

                    Member: State Bar of California, Federal Bar Association of Orange County,
              Orange County Patent Law Association.

            STEPHEN M. HAMON, born in Redding, Connecticut, 1982; admitted to Bar,
     California (2007); U.S. District Court for the Central District of California (2007); U.S. Court of
     Appeals for the Ninth Circuit (2007); registered to practice before the United States Patent and
     Trademark Office (2010).

                     Education: Stanford University (B.A.S. Physics, Music, 2004); UCLA School of
              Law (J.D. 2007).

                    Member: State Bar of California, Intellectual Property Law Section; Orange
              County Bar Association; Orange County Intellectual Property Law Association.




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                                        LEGAL SUPPORT STAFF

                                              PARALEGALS

              KRISTY KAY CHRISTIE, born Minneapolis, Minnesota, 1964.

                      Education: University of Minnesota; Moorhead University; American Institute
              for Paralegal Studies, Paralegal Program Certificate (1989-1990) - (Paralegal and Foreign
              Filing Specialist).

              RENEE LAU, born San Francisco, California, 1990.

                      Education: University of California, Irvine (2012); University of California,
              Irvine, Division of Continuing Education, Paralegal Certificate Program (2016) -
              (Litigation Paralegal and National Filing Specialist).

                     Member: State of California Notary Public.




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                                      REPRESENTATIVE CLIENTS
2Advanced Studios, LLC                              Lithocrete, Inc.
3 Day Blinds LLC                                    Luther Needlesafe Products, Inc.
3Gen, Inc.                                          Medela, Inc.
Applied Digital Solutions, Inc.                     Meggitt Defense Systems
ASSA ABLOY AB                                       Michael Berman Limited
Asterisk.Asterisk LLC                               MK Products, Inc.
Awesome Products, Inc.                              MPF Technologies
Bad Cat Amplifiers                                  NantHealth, Inc.
Becton Dickenson                                    NantWorks, LLC
Bluebeam Software, Inc.                             Nirve Sports, Ltd.
Breathe Technologies, Inc.                          Norm Reeves, Inc.
Cedarlane Natural Foods, inc.                       Northrop-Grumman Corp.
Control Components, Inc.                            Omnia Italian Design, Inc.
Dana Innovations/Sonance                            Ossur hf
Daylight Chemical Information, Inc.                 Palos Verdes Footwear
Diono, LLC                                          Phenomenex, Inc.
Dunlop Sports Company Limited (Cleveland Golf)      Primal Elements, Inc.
Dunn-Edwards Corp.                                  Pro-Mart Industries, Inc.
Elite Mfg. Corp.                                    Racing Optics, Inc.
Endevco Corp.                                       Redline Detection, LLC
Energy Suspension                                   Rexhall Industries
Evolution Hospitality                               Rohl, LLC
Felt Racing, LLC                                    San Juan Products, Inc. (dba San Juan Pools)
Future Fins, LLC                                    Scientific Applications & Research Associates, Inc. (SARA)
Globe Promotions, Inc.                              Scorpion Sports, Inc.
Heritage Provider Network                           Scott Boras Corporation
HID Global Corporation                              Securis Inc. (dba Hubbard Enterprises)
Infantino, LLC                                      Shaw & Sons, Inc.
Inland Empire Foods                                 Smart Industrial Group, Ltd.
Innova Electronics Corp./Equus Products             Smile Brands Inc.
Innovative Display Works                            Sole Technology, Inc. (ETNIES)
Integrated Medical Systems                          Spectra International
ITT Flojet                                          Spy Optic Inc.
ITT Jabsco                                          Sterno Candle Lamp
ITT Pureflo                                         Tarsadia Hotels
Kofax, Inc.                                         TST Water, Inc.
Kyocera Tycom Corporation                           University of Southern California
Lamkone Restaurants, Inc. (dba Wahoo’s Fish Taco)   Water Conservation Technology International, Inc.
Lifted Research Group, Inc. (LRG)                   Wavesense, Inc.
LiquidMetal Technologies                            W.E. Hall Company/Pacific Corrugated Pipe Co.
                                                    Westlife Distribution USA, LLC (686)




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

18101 Von Karman, Suite 1200, Irvine, CA 92612

A true and correct copy of the foregoing document entitled: APPLICATION FOR PAYMENT OF INTERIM (11 U.S.C. §
331)/FINAL FEES AND/OR EXPENSES (11 U.S.C. § 330) will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 04/07/2020 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 04/07/2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 04/07/2020 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Honorable Catherine Bauer, USBC, 411 West Fourth Street, Santa Ana, CA 92701




                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 04/07/2020        Kerry A. Murphy                                                    /s/Kerry A. Murphy
 Date                       Printed Name                                                     Signature


          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Mailing Information for Case 8:19-bk-14714-CB
Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service for this
case.

    •   Matthew Borden borden@braunhagey.com,
        rosario@braunhagey.com;kushnir@braunhagey.com;verga@braunhagey.com;hagey@braunhag
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        e@braunhagey.com;baker@braunhagey.com
    •   Frank Cadigan frank.cadigan@usdoj.gov
    •   Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
    •   Mark S Horoupian mhoroupian@sulmeyerlaw.com,
        dwalker@sulmeyerlaw.com;mhoroupian@ecf.inforuptcy.com
    •   Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com
    •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
    •   Claire K Wu ckwu@sulmeyerlaw.com,
        mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com

Manual Notice List

The following is the list of parties who are not on the list to receive email notice/service for this case (who
therefore require manual noticing/service). You may wish to use your mouse to select and copy this list
into your word processing program in order to create notices or labels for these recipients.


        Grobstein Teeple LLP
        6300 Canoga Avenue Suite 1500W
        Woodland Hills, CA 91367

        SulmeyerKupetz, A Professional Corporation
        333 South Grand Ave Suite 3400
        Los Angeles, CA 90071
